Case 1:21-cv-00091-RGA Document 226 Filed 04/12/23 Page 1 of 2 PageID #: 12910




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 MHL CUSTOM, INC.,

                  Plaintiff,
       v.
                                                            C.A. No. 21-0091-RGA
 WAYDOO USA, INC. and SHENZHEN
 WAYDOO INTELLIGENCE TECHNOLOGY
 CO., LTD,

                  Defendants.

                               JUDGMENT ON THE JURY VERDICT

       This 12th day of April 2023, the Court having held a jury trial, and the jury having

rendered a verdict, pursuant to Fed. R. Civ. P. 58(b)(2), IT IS HEREBY ORDERED that:

       Judgment of infringement is entered for Plaintiff MHL Custom, Inc. and against

Defendants Waydoo USA, Inc. and Shenzhen Waydoo Intelligence Technology Co., Ltd., on the

First and Second Claims for Relief of the Complaint, with respect to claims 1, 2, 5, and 6 of U.S.

Patent No. 9,359,044 (“the ‘044 patent”) and claims 1 and 2 of U.S. Patent No. 9,586,659 (“the

‘659 patent”), in the amount of $1,334,000, at a royalty rate of $500 per unit sold as of December

31, 2022, and Defendants Waydoo USA, Inc. and Shenzhen Waydoo Intelligence Technology Co.,

Ltd. were further found to have willfully infringed claims 1, 2, 5, and 6 of the ‘044 patent and

claims 1 and 2 of the ‘659 patent.

       Judgment is further entered for Plaintiff MHL Custom, Inc. and against Defendants

Waydoo USA, Inc. and Shenzhen Waydoo Intelligence Technology Co., Ltd. on Counterclaims I

(non-infringement), II (non-infringement), III (invalidity), and IV (invalidity) with respect to

claims 1, 2, 5, and 6 of the ‘044 patent and claims 1 and 2 of the ‘659 patent.
Case 1:21-cv-00091-RGA Document 226 Filed 04/12/23 Page 2 of 2 PageID #: 12911




       This Judgment is subject to modification following the Court’s consideration of the parties’

post-trial motions.


       IT IS SO ORDERED this 12th day of April, 2023.



                                               /s/ Richard G. Andrews
                                             The Honorable Richard G. Andrews
